IPROB 12
REVISED (05/90)

Case 2:OS-cr-ZOO€laiB§TBB%MepE§JDI§M@§lM§R,FaQe 1 of 2 Page|D 79
for
wEsTERN I)ISTRICT oF TENNESSEE F"-ED tit /KC: D.G-

U.s.A. vs. Jolita wainwright pocket NQ.ELS?oi&RBHoht-h?

Petition on Probation and Supervised Release ':?§[§:§' ', ":": '|,~‘ §CH?

in n O§-‘ iii § !;:.t?-`t t!S
COMES NOW Edward E. Shaw PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Jolita Wainwright who was placed on supervision by the Honorable
J. Daniel Breen sitting in the Court at Mernphis, TN on the 23rd day of _.i_uly, 2003, who fixed the period of
supervision at three (3) years* , and imposed the general terms and conditions theretofore adopted by the

Court and also imposed special conditions and terms as follows:

 

l. The defendant shall participate in the Home Detention program for five (5) months [Completed.]

2. The defendant shall provide full financial disclosure as directed by the Probation Offlcer.

3. The defendant shall not acquire any new financial obligations without permission of the Probation
Officer.

4. The defendant shall make third party risk notification as directed by the Probation Officer.

5. The defendant shall participate in substance abuse testing and treatment as directed by the Probation
0fflcer.

6. The defendant shall participate in mental health treatment and testing as deemed appropriate by the
Probation Officer.

7. The defendant shall make restitution in the amount of $39,237.48 in regular monthly installments in

the amount of ten percent (l O%) of her gross income. [Balance: $37,661,48]
* Supervised Release began on September 29, 2003.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Jolita Wainwn`ght fits the criteria for early termination recommended by the Judicial Conference Comrnittee on
Criminal Law. Ms. Wainwright has made progressive strides toward achieving supervision objectives and appears
to pose no risk to public safety. The defendant has paid restitution at the set rate often percent (10%) of gross
income. Mr. Carroll Andre, Assistant U. S. Attorney, has indicated that the government does not take any position
regarding early termination of supervision

PRAYING THAT THE COURT WILL ()RI)ER that the defendant be discharged immediately from Supervised
Release, with the understanding that the United States Attorney’s Office will be responsible for the continued
collection of restitution

ORDER OF COURT Respectfully, /
a M@<,

Co idered and ordered this l al ____day of Edward E. Shaw

,2005 and ordered United States Probation Officer
filed d ade a part of the records m the

CaSC Place: %M_ W

Date: 42 /2», ZOU§_

 

 

 

Ule J Daniel Breen
Uited tates District Judge

§§

l ISIC COURT - WESRNTE D'S'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 2:03-CR-20061 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

 

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

